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  1
      BIBIYAN LAW GROUP, P.C.
  2   David D. Bibiyan (Cal. Bar No. 287811)
      david@tomorrowlaw.com
  3
      Sarah H. Cohen (Cal. Bar No. 330700)
  4   sarah@tomorrowlaw.com
      Lizette Rodriguez (Cal. Bar No. 335182)
  5
      lizette@tomorrowlaw.com
  6   1460 Westwood Boulevard
      Los Angeles, California 90024
  7
      Tel: (310) 438-5555; Fax: (310) 300-1705
  8
  9
      Attorneys for Plaintiff, AMBAR JAZMINE SOTERO and
      on behalf of all others similarly situated
 10
 11                             UNITED STATES DISTRICT COURT
 12          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
 13
 14 AMBAR JAZMINE SOTERO, an                        CASE NO.: 5:24-CV-02072-DSF-MAR
      individual and on behalf of all others
 15 similarly situated,                             JOINT REPORT RE: STATUS OF
 16                                                 ARBITRATION
                   Plaintiff,
 17                                                 Next Joint Report Due: July 16, 2025
 18         v.
 19
 20
    COMMUNICATIONS TEST DESIGN,
 21
    INC., a Pennsylvania corporation;
 22 GERALD PARSONS, an individual
    and DOES 1 through 100, inclusive,
 23
 24                Defendants.
 25
 26

 27
 28


                                JOINT REPORT RE: STATUS OF ARBITRATION
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  1        Pursuant to the Court’s order Granting CTDI’s Motion to Compel Arbitration
  2 (ECF No. 10), Plaintiff Ambar Jazmine Sotero (“Plaintiff”) and Defendant

  3 Communications Test Design, Inc. and Gerald Parsons (“Defendants” and together

  4 with Plaintiff, “the Parties”) submit this Joint Report.

  5        The Parties are currently discussing the possibility of alternative dispute
  6 resolutions. However, if the Parties are not able to reach an agreement prior to the next

  7 joint report, they will move forward with individual arbitration. As such, the Parties

  8 will provide an update on the matter and/or the administrator’s information as well as

  9 the name of the arbitrator on the next joint report.

 10

 11 Dated: March 18, 2025                BIBIYAN LAW GROUP, P.C.

 12

 13
                                         BY: /s/ Lizette Rodriguez
 14                                           David D. Bibiyan
 15                                           Sarah H. Cohen
                                              Lizette Rodriguez
 16                                      Attorneys for Plaintiff AMBAR JAZMINE
 17                                      SOTERO, and on behalf of all others
                                         similarly situated
 18

 19 Dated: March 18, 2025                BLANK ROME

 20

 21
                                         BY: /s/ Caroline Powell Donelan                        /
 22                                                                                             s
                                              Caroline Powell Donelan
 23                                      Attorneys for Defendant                                /
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                          JOINT REPORT RE: STATUS OF ARBITRATION
